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                         D I S T R I CT O F M A S S A C H US E T T S


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                                  *
LEE HUTCHINS, SR.                 *
         Plaintiff,               *
                                  *                 NO. 16-cv-30008-NMG
      v.                          *
                                  *
DANIEL J. MCKAY, FELIX M.         *
ROMERO, THOMAS HERVIEUX, and *
THE CITY OF SPRINGFIELD           *
                                  *
         Defendants               *
                                  *
                                  *
                                  *
                                  *
* * * * * * * * * * * * * * * * * *


             JOINT STATUS REPORT ON THE STATUS OF THE APPEAL

       Now come the parties and report that on November 8, 2018, the United States Court of

Appeals for the First Circuit dismissed the Defendants’ appeal.
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                                                      Respectfully Submitted,

                                                      THE PLAINTIFF,

                                                      By /s/ Luke Ryan
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                                                      SASSON, TURNBULL, RYAN & HOOSE
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                                                      The Defendants,
                                                      City of Springfield, Thomas Hervieux,
                                                      Daniel J. McKay and Felix M. Romero

                                                      By: /s/ Lisa C. deSousa__
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                                 CERTIFICATE OF SERVICE

       I, LUKE RYAN, hereby state that the foregoing was filed through the ECF system and

sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) on November 27, 2018.


                                                /s/ Luke Ryan, Esq.
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